                  Case 4:05-cr-00305-SWW         Document 1253               Filed 08/23/12     Page 1 of 3
PROB 12B
ED/AR (12/2010)

                                                                                                    FILED
                                                                                                  U.S. DISTRICT COURT
                                      United States District Court                            EASTERN DISTRICT ARKANSAS


                                                         for the                                 AUG 23 2012
                                         ~·:tern District. ~f Arkansas                    ~~~E!.~:
                        Request for Modifymg the Conditions or Term of Supervision
                                       with Consent of the Offender
                                     (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: James Frederic Howard                                    Case Number: 4:05CR00305-019 SWW
 Name of Sentencing Judicial Officer:         Honorable Susan Webber Wright
                                              United States District Judge
 Offense:                    Conspiracy to Distribute More Than 50 Grams of Methamphetamine
  Date of Sentence:          April 9, 2007
  Sentence:                  42 months Bureau of Prisons, 4 years supervised release, mandatory drug
                             testing, substance abuse treatment, and $1 00 special penalty assessment
 Type of Supervision:        Supervised release            Date Supervision Commenced: December 18, 2009
                                                           Expiration Date: December 17, 2013
 Asst. U.S. Attorney: Jana Harris                          Defense Attorney: Lisa Peters
  U.S. Probation Officer: Tabitha L. Mitchell
  Phone No.: 501-604-5277


                                       PETITIONING THE COURT

To modify the conditions of supervision as follows:

            The defendant shall reside in a residential re-entry center (RRC) for a period of three (3)
            months.


                                                        CAUSE

Mr. Howard's term of supervised release commenced on December 18, 2012. He obtained steady
employment and maintained a stable residence. He was in compliance with his conditions of supervised
release until January 2012. Since that time, Mr. Howard submitted drug tests which were presumptively
positive for methamphetamine on the following dates: January 3, 2012 and February 13 and 24, 2012.
On each occasion, he admitted to using the substance and signed an admission of drug use form. He
submitted a drug test which was confirmed positive for marijuana by Alere Laboratories on July 30,
2012. As a result of his drug use, Mr. Howard was referred to residential substance abuse treatment at
Recovery Centers of Arkansas. He successfully completed residential treatment on March 27, 2012. He
entered chemical free living the same day. He failed to attend outpatient substance abuse treatment on
the following dates: AprilS, 17, and 24, 2012. He also failed to make payments toward his subsistence
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  Prob 12B                                           -2-                            Request for Modifying the
                                                                           Conditions or Terms of Supervision
                                                                                 with Consent of the Offender

  Name of Offender: James Frederic Howard                           Case Number: 4:05CR00305-019 SWW

  and was unsuccessfully discharged from the chemical free living program. Mr. Howard failed to report
  to the probation office for drug testing on the following dates: January 13 and 31, 2012; February 22,
  2012; April18, 2012; June 4, 2012; and July 13 and 26, 2012. Furthermore, he has been unemployed
  since February 2012.

  On August 10, 2012, Mr. Howard agreed to have his conditions modified. He executed the attached
  PROB 49, waiving his right to a hearing. Assistant Federal Public Defender Lisa Peters was contacted
  and she was also in agreement with the modification.




   Tabitha L. Mitchell                                            Jana Harris
   U.S. Probation Officer                                         Assistant U.S. Attorney

   Date: August 16, 2012                                          Date:    'l" ;) 0 ... I 0..

  This form is to be filed with Criminal Docketing as a motion.




  THE COURT ORDERS:
  [ ]    No Action
  [ ]    The Extension of Supervision as Noted Above

  ~
         The Modification of Conditions as Noted Above
         Other


                                                                  Signature of Judicial Officer

                                                                          F-23-Z0/2
                                                                  Date

  This form is to be filed with Criminal Docketing as an order and/or petition.

  Approved:



~d(DM>~
 Supervising U.S. Probation Officer

  TLM/sli
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Prob 12B                                         -3-                        Request for Modifying the
                                                                   Conditions or Terms of Supervision
                                                                         with Consent of the Offender

Name of Offender: James Frederic Howard                       Case Number: 4:05CR00305-019 SWW




c: Assistant Federal Public Defender, Lisa Peters, 1401 West Capitol Avenue, Suite 490, Little Rock,
   AR 72201
   Assistant U.S. Attorney, Jana Harris, P.O. Box 1229, Little Rock, AR 72203
